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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

CIVIL ACTION NO,
REY L. AUGUSTINE, JR.,
Plaintiff,
COMPLAINT AND DEMAND
FOR JURY TRIAL
Vv.
CITY OF CHICOPEE,

OFFICER TIMOTHY BRODEUR
OFFIICALLY & INDIVIDUALLY,
OFFICER MICKEY DUMAIS
OFFICIALLY & INDIVIDUALLY,
OFFICER JOSEPH BRUNELL
OFFICIALLY & INDIVIDUALLY,
OFFICER FRANK MCQUAID
OFFICIALLY & INDIVIDUALLY,
POLICE CHIEF WILLIAM JEBB
OFFICIALLY & INDIVIDUALLY,
JOHN/JANE DOES 1-10
OFFICIALLY & INDIVIDUALLY,
Defendants,

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Now comes the Plaintiff, Rey L. Augustine, Jr, and does hereby bring the following

Complaint in the above-referenced matter. Plaintiff hereby requests a jury trial on this matter.

INTRODUCTION
1. This is an action brought pursuant to 42 U.S.C., §1983, arising out of an incident of
police brutality in which the plaintiff, Rey L. Augustine, Jr was unjustifiably physically
beaten by members of the Chicopee Police Department, including but not limited to
Defendants Chicopee Police Officer Timothy Brodeur, Officer Mickey Dumais, Officer

Frank McQuaid, and Officer Joseph Brunelli. The brutal beating resulted severe physical

 
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injuries including a skull fracture and requiring additional medical treatment in the future,
as well as extreme mental anguish to Rey L. Augustine, Jr. The Defendants City of
Chicopee and Police Chief William Jebb are jointly and severally liable for violation the
plaintiff’s rights under the Fourth, Eighth, and Fourteenth Amendments of the United
States Constitution and under the Constitution of the Commonwealth of Massachusetts,
and for all injuries he sustained as a result of the constitutional violations. Defendants
John and Jane Does, No. 1-10 are unidentified Chicopee Police Officers who were
involved in the beating and conspiracy to cover up thereafter. The acts of Defendants
Officer Brodeur, Officer Dumais, Officer McQuaid, and Officer Brunell were so flagrant
and widespread prior to the events with Rey L. Augustine, Jr., the municipality had actual
knowledge of their illegal practices and customs, and chose with deliberate, reckless, and
callous indifference to stop their illegal practices as to depriving others of their guarantee
to these constitutional rights.

JURISDICITON AND VENUE
. Jurisdiction over this action rests in this Court pursuant to 28 U.S.C., §1331 which gives
this Court jurisdiction over all civil actions arising under the Constitution, laws, or
treaties of the United States.
. Venue in this Court is proper because the illegal acts complained of herein occurred in
the City of Chicopee, Hampden County, Massachusetts.

PARTIES

. The Plaintiff, Rey L. Augustine, Jr., is a resident of Chicopee, Massachusetts. Plaintiff is

a United States citizen.

 
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5. At all relevant times to this Complaint, Timothy Brodeur, Mickey Dumais, Frank
McQuaid, and Joseph Brunell were sworn members of the City of Chicopee Police
Department. Each of the foregoing defendants is being sued in his individual and official
capacity. At all relevant times to this Complaint, Defendants Brodeur, Dumais, McQuaid,
and Brunell were acting under color of state law.

6. At all relevant times in this Complaint, John and Jane Does, No. 1-10 were unidentified
sworn members of the City of Chicopee Police Department. Each of the foregoing
defendants is being used in his or her individual and official capacity. At all relevant
times to this Complaint, Defendants Does, No. 1-10 were acting under color of state law.

7. At all times relevant to this Complaint, William Jebb was the Police Chief of the
Chicopee Police Department. In that position, he was responsible for ensuring that the
officers on the police force were properly supervised and trained to interact with
members of the public, without violating their rights under the constitutions of the United
States and the Commonwealth of Massachusetts, and for preventing and eliminating all
policies and practices that encourage or allow police officers to violate the constitutional
rights of members of the public with whom they interact. Defendant Jebb is being sued in
his individual and official capacity. At all times relevant to this Complaint, Defendant
Jebb was acting under color of state law.

8. Defendant City of Chicopee is a municipal corporation located in Hampden County,
Massachusetts. At all relevant times to this Complaint, the City of Chicopee was the
public employer of Defendant Jebb and the police defendants. The City of Chicopee is
responsible for the proper functioning of the police department and for ensuring that all

officers on the police department are properly supervised and trained to interact with

 
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members of the public without violating their rights under the constitution of the United

- States and the Commonwealth of Massachusetts. It is also responsible for preventing and

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eliminating all policies and practices that allow or encourage police officers to violate the
constitutional rights of members of the public with whom they interact.

FACTS
In 2017, Rey L. Augustine, Sr. and his son, Plaintiff, resided at 735 Memorial Drive, Lot
#28, Harmony Homes in Chicopee, Massachusetts.
That same year, Mr. Augustine, Sr. was diagnosed with Cancer.
Mr. Augustine, Sr. had surgery in August of 2017 because of the diagnosis.
To better care for him after the surgery, Mr. Augustine, Sr. moved back in with Beruta
Augustine, at 32 Lee Road, South Deerfield.
As a result, Plaintiff was living alone at 735 Memorial Drive, Lot #28.
On or about November 16, 2017, Plaintiff went down the street to the Hu Ke Lau which
was located at 705 Memorial Drive in Chicopee.
While at the Hu Ke Lau, Plaintiff was involved in a physical altercation with two patrons,
William Hose and Michael MacKay.
Mr. Hose forcibly pulled the Plaintiff by the jacket causing him to fall onto the floor.
Once Plaintiff returned to his feet, Mr. MacKay struck Mr. Augustine.
After the altercation, employees at the Hu Ke Lau called the Chicopee Police Department
to request assistance for a disturbance.
Defendants Brunell, McQuaid, Dumais, and Brodeur of the Chicopee Police Department
were dispatched to Hu Ke Lau 705 Memorial Drive for a disturbance,

Plaintiff headed in the direction of his residence at 735 Memorial Drive, Lot #28.

 
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Defendants Brunelle and McQuaid arrived at the Hu Ke Lau first.

Defendants Brodeur and Dumais located Plaintiff walking into the trailer park of 735
Memorial Drive in the area of Kon Tiki Circle.

Defendant Brodeur pulled over the police cruiser.

Defendants Brodeur and Dumais exited the cruiser and stopped Plaintiff.

Defendants McQuaid and Brunell arrived on scene from the Hu Ke Lau.

Defendant Brodeur formed the opinion that Plaintiff was unable to care for himself due to
his current state.

Defendants Brodeur and Dumais approached Plaintiff and grabbed his forearms.

Using the arm bar takedown method, Defendants Brodeur and Dumais physically forced
Plaintiff to the ground smashing his face.

Defendants Brodeur, Dumais, McQuaid, and Brunell forcibly held Plaintiff on the ground
using the physical force of their bodies.

Defendants Brodeur and Dumais put handcuffs on Plaintiff,

Defendants Brodeur, Dumais, McQuaid, and Brunell dragged Plaintiff to the cruiser,
Plaintiff was slammed against the back door of the cruiser.

Plaintiff was searched for weapons.

No weapons were found.

While handcuffed and pushed up against the cruiser, Defendants Brodeur and Dumais
physically shoved Plaintiff causing him to fall face first on the ground.

Plaintiff was unable to break the fall since his hands were in cuffs.

Plaintiff was transported to Holyoke Medical Center.

 
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As a result of the attack and multiple beatings, Plaintiff suffered severe physical injuries
requiring serious medical care.
Plaintiff also suffered and continues to suffer extreme mental anguish, post-traumatic
stress disorder, and has otherwise been damaged.
Plaintiff suffered a comminuted fracture in his face, breaking parts of his skull into
multiple fragments.
Since considerable force and energy is required to fragment a bone, fractures of this
degree usually occur after high impact trauma such as vehicular impacts.
A comminuted fracture is the most difficult to repair due to the bone having fractured
into numerous pieces.
Multiple bone pieces require more effort to hold them together mn the ideal position for
healing.
Because of the attack and multiple beatings, Plaintiff suffered and was treated with
multiple surgeries for;

a. fractures in the orbital walls of his skull,

b. fracture of the anterior, posterior, and medial maxillary sinus walls,

c. displaced fragments of Plaintiff's posterior maxillary sinus wall fracture extended

into the right maxillary sinus,
d. fracture of the zygomatic arch, inferior and lateral orbital wall, anterior, lateral,
and likely medial maxillary sinus walls,
e. blood within the right maxillary sinus,
f. right inferolateral orbital wall hematoma,

g. edema over right temple and eyebrow,

 
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h. tenderness in right mandible,
i. right shoulder ecchymosis and generalized c-spine tenderness.
A red rubber catheter was used for Plaintiffs right eye.
Multiple metal plates and screws were installed on Plaintiff's skull.
Plaintiff was arraigned and charged on May 4, 2018 with disorderly conduct, assault and
battery on a police officer (two counts) and resisting arrest.
It is unclear if the resisting arrest charge stems from Plaintiff's conduct during the arrest,
transport, or during booking.
COUNT I
42 U.S.C., §1983
v. Brodeur, Dumais, McQuaid, Brunell, Jebb, and Does 1-10
Plaintiff re-alleges and incorporates paragraphs 1 through 48 as if set forth fully herein.
By their actions set forth above, Defendants Brodeur, Dumais, McQuaid, Brunell, Jebb,
and Does 1-10 knowingly, willfully, and intentionally deprived Plaintiff of his rights
under the Fourth, Eighth, and Fourteenth Amendments to the United States Constitution,
and under the Massachusetts Constitution, while acting under color of law, in violation of
42 U.S.C., §1983. Defendants Brodeur, Dumais, McQuaid, and Brunell used excessive
force during and after the arrest, abused Plaintiff with physical force, applied excessive
force even after Plaintiff was brought down to the ground, and denied his due process
under the law. As a supervisor, Defendant Police Chief Jebb’s actions and inactions were
done deliberately, recklessly, and with callous indifference to the constitutional rights of
others.

As aresult of Defendant's’ violations of 42 U.S.C., §1983, Plaintiff suffered harm.

 
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WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor against
Defendants Brodeur, Dumais, McQuaid, Brunell, Jebb, and Does 1-10 in an amount to be
determined by this Court, including compensatory and punitive damages, compensation
for his emotional pain and suffering, interest, costs, attorney’s fees, and such other relief

this Court deems just and proper.

COUNT II
CIVIL CONSPIRACY TO VIOLATE
42 ULS.C., $1983
vy. Brodeur, Dumais, McQuaid, Brunell, Jebb, and Does 1-10

Plaintiff re-alleges and incorporates paragraphs 1 through 52 as if set forth fully herein.

By their actions set forth above, Defendants Brodeur, Dumais, McQuaid, Brunell, Jebb,
and Does 1-10 knowingly, willfully, and intentionally deprived Plaintiff of his rights
under the Fourth and Fourteenth Amendments to the United States Constitution, and
under the Massachusetts Constitution, while acting under the color of law in violation of
427. U.S.C., §1983. Defendants Brodeur, Dumais, McQuaid, Brunell, Jebb, and Does 1-10
conspired among themselves to violate Plaintiff's rights under the constitution of the |
United States and Massachusetts. In furtherance of this conspiracy and cover-up,
Defendants distorted facts, lied about the events that took place, and created charges
against Plaintiff that would assist them in covering up the deprivation of constitutionally
recognized rights afforded to every United States Citizen.

As a result of Defendants’ violations of 42 U.S.C., §1983, Plaintiff suffered harm.
WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor against
Defendants Brodeur, Dumais, McQuaid, Brunell, Jebb, and Does 1-10 in an amount to be

determined by this Court, including compensatory and punitive damages, compensation

 
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for his emotional pain and suffering, interest, costs, attorney’s fees, and such other relief
this Court deems just and proper.
COUNT HI
42 U.S.C., §1983
y. Jebb
Plaintiff re-alleges and incorporates paragraphs | through 56 as if set forth fully herein.
By his action, inaction, and deliberate indifference as set forth above, Defendant Jebb
knowingly, willfully, and intentionally allowed a policy and custom to exist which
resulted in violation of Plaintiffs rights under the Fourth and Fourteenth Amendments to
the United States Constitution and under the Massachusetts Constitution in violation of
42 ULS.C., §1983.
As aresult of Defendant Jebb’s violations of 42 U.S.C., §1983, Plaintiff suffered harm.
Defendant Jebb had actual knowledge that Defendants Brodeur, Dumais, McQuaid, and
Brunell physically beat Plaintiff.
Prior to Plaintiff's beating, Defendant Jebb failed to properly train Defendants Brodeur,
Dumais, McQuaid, and Brunell.
WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor against
Defendant Jebb in an amount to be determined by this Court, including compensatory and
punitive damages, compensation for his emotional pain and suffering, interest, costs,

attorney’s fees, and such other relief this Court deems just and proper.

COUNT FV

42. U.S.C., §1983
y. City of Chicopee

Plaintiff re-alleges and incorporates paragraphs | through 62 as if set forth fully herein.

 
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By its action, inaction, and deliberate indifference as set forth above, Chicopee
knowingly, willfully, and intentionally allowed a policy and custom to restrain arrestees
which resulted in violations of Plaintiff's rights under the Fourth and Fourteenth
Amendments to the United States Constitution and under the Massachusetts Constitution,
in violation of 42 U.S.C., §1983.

As aresult of Chicopee’s violation of 42 U.S.C., §1983, Plaintiff suffered harm.
WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor against City
of Chicopee in an amount to be determined by this Court, including compensatory and
punitive damages, compensation for his emotional pain and suffering, interest, costs,
attorney’s fees, and such other relief this Court deems just and proper.

COUNT V

42 U.S.C., §1983
vy. City of Chicopee

Plaintiff re-alleges and incorporates paragraphs | through 66 as if set forth fully herein.
The City of Chicopee’s failure of ensuring the proper functioning of the police
department and failure to ensure that all officers of the police department are properly
supervised and trained to interact with members of the public, as a municipal corporation,
resulted in violations of Plaintiff's rights under the Fourth and Fourteenth amendments to
the United States Constitution and under the Massachusetts Constitution in violation of
42, US.C., $1983.

As aresult of Chicopee’s violation of 42. U.S.C., §1983, Plaintiff suffered harm.

The City of Chicopee failed to order Defendant Jebb to train or supervise Defendants

Brodeur, Dumais, McQuaid, and Brunell.

 
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WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor against
Defendant City of Chicopee in an amount to be determined by this Court, including
compensatory and punitive damages, compensation for his emotional pain and suffering,
interest, costs, attorney’s fees, and such other relief this Court deems just and proper.
COUNT VI
42 U.S.C. §1983
y. Jebb
Plaintiff re-alleges and incorporates paragraph | through 71 as if set forth fully herein.
Defendant Jebb’s failure of ensuring the proper functioning of the police department and
failure to ensure that all officers of the police department are properly trained to interact
with members of the public, individually and in his official capacity as Police Chief,
resulted in violations of Plaintiffs rights under the Fourth and Fourteenth Amendments
to the United States Constitution and under the Massachusetts Constitution in violation of
42 ULS.C., §1983.
As a result of Defendant Jebb’s violations of 42. U.S.C., §1983, Plaintiff suffered harm.
WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor against
Defendant Jebb in an amount to be determined by this Court, including compensatory and
punitive damages, compensation for his emotional pain and suffering, interest, costs,
attorney’s fees, and such other relief this Court deems just and proper.
COUNT Vil
ASSAULT AND BATTERY
vy. Brodeur
Plaintiff re-alleges and incorporates paragraphs 1 through 75 as if set forth fully herein.

The acts of Defendant Brodeur, described above constituted assault and battery upon

Plaintiff in that Defendant Brodeur, intentionally attempted to injure Plaintiff or commit a

 
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battery upon his, and further, that the act of Defendant Brodeur, represented a grievous
affront to Plaintiff.
Defendant Brodeur’s acts constituted a battery upon Plaintiff in that the bodily contact
described was intentional and grossly offensive in nature.
Defendant Brodeur unreasonably smashed Plaintiffs face on the ground using an arm bar
takedown.
After Plaintiff was put in handcuffs, Defendant Brodeur unreasonably shoved Plaintiff
causing him to fall on his face.
The actions of Defendant Brodeur were intentional, reckless, and unwarranted, and
without any just cause or provocation, and Defendant Brodeur knew, or should have
known, that his actions were without the consent of the Plaintiff, and that the actions
described were against his wishes.
As a result of the acts of Defendant Brodeur, Plaintiff suffered physical pain and still
suffers from mental pain and sustained emotional injuries resulting from Defendant
Brodeur’s assault and battery, The injuries sustained by Plaintiff were caused wholly and
solely by reason of conduct described, and Plaintiff did not contribute thereto.
COUNT Vill
ASSAULT AND BATTERY
vy. Dumais
Plaintiff re-alleges and incorporates paragraphs 1 through 82 as if set forth fully herein.
The acts of Defendant Dumais described above constituted an assault upon Plaintiff, in
that Defendant Dumais, intentionally attempted to injure, Plaintiff, or commit a battery

upon his, and further, that the acts of Defendant Dumais represented a grievous affront to

Plaintiff.

 
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Defendant Dumais’ acts constituted a battery upon the Plaintiff in that the bodily contact
described was intentional and grossly offensive in nature.

Defendant Dumais unreasonably smashed Plaintiff’s face on the ground using an arm bar
takedown.

After Plaintiff was put in handcuffs, Defendant Dumais unreasonably shoved Plaintiff
causing him to fall on his face.

The actions of Defendant Dumais were intentional, reckless, and unwarranted, and
without any just cause or provocation, and Defendant Dumais knew, or should have
known, that his actions were without the consent of the Plaintiff, and that the actions
described were against his wishes.

As a result of the acts of Defendant Dumais, Plaintiff suffered physical pain and still
suffers from mental pain and sustained emotional injuries resulting from Defendant
Dumais’ assault and battery. The injuries sustained by Plaintiff were caused wholly and

solely by reason of conduct described, and Plaintiff did not contribute thereto.

COUNT IX
ASSAULT AND BATTERY

v. McQuaid

Plaintiff re-alleges and incorporates paragraphs 1 through 89 as if set forth fully herein.
The acts of Defendant McQuaid described above constituted an assault upon Plaintiff, in
that Defendant McQuaid, intentionally attempted to injure, Plaintiff or commit a battery
upon his, and further, that the acts of Defendant McQuaid represented a grievous affront

to Plaintiff.

 
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92. Defendant McQuaid’s acts constituted a battery upon the Plaintiff in that the bodily
contact described was intentional and prossly offensive in nature.

93. Defendant McQuiad continued to apply excessive force to Plaintiff after he was brought
down to the ground.

94, The actions of Defendant McQuaid were intentional, reckless, and unwarranted, and
without any just cause or provocation, and Defendant McQuaid knew, or should have
known, that his actions were without the consent of the Plaintiff and that the actions
described were against his wishes.

95. As a result of the acts of Defendant McQuaid, Plaintiff suffered physical pain and still
suffers from mental pain and sustained emotional injuries resulting from Defendant
McQuaid’s assault and battery. The injuries sustained by Plaintiff were caused wholly
and solely by reason of conduct described, and Plaintiff did not contribute thereto.

COUNT X
ASSAULT AND BATTERY
y. Brunell
96, Plaintiff re-alleges and incorporates paragraphs | through 95 as if set forth fully herein,
97. The acts of Defendant Brunell described above constituted an assault upon Plaintiff, in
that Defendant Brunell, intentionally attempted to injure or commit a battery upon his, and
further, that the acts of Defendant Brunell represented a grievous affront to Plaintiff.
98. Defendant Brunell’s acts constituted a battery upon the Plaintiff in that the bodily contact
described was intentional and grossly offensive in nature.

99. Defendant Brunell continued to apply excessive force to Plaintiff after he was brought

down to the ground.

 
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100. The actions of Defendant Brunelli were intentional, reckless, and unwarranted, and
without any just cause or provocation, and Defendant Brunell knew, or should have
known, that his actions were without the consent of the Plaintiff and that the actions
described were against his wishes.

101. As aresult of the acts of Defendant Brunell, Plaintiff suffered physical pain and still
suffers from mental pain and sustained emotional injuries resulting from Defendant
Brunell’s assault and battery. The injuries sustained by Plaintiff were caused wholly and
solely by reason of conduct described, and Plaintiff did not contribute thereto,

COUNT XIII
ASSAULT AND BATTERY

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
v. Brodeur, Dumais, McQuaid, and Brunell

 

102. Plaintiff re-alleges and incorporates paragraphs 1 through 101 as if set forth fully herein.

103. Defendants v. Brodeur, Dumais, McQuaid, and Bruneille, both individually and
collectively, engaged in acts which represented extreme and outrageous conduct which
intentionally or recklessly caused severe emotional distress to Plaintiff. Further, the
conduct described was so outrageous and atrocious as to be utterly intolerable in a
civilized community.

104. As a result of the Defendants’ intentional infliction of emotional distress upon Plaintiff,
he has sustained severe emotional distress, post-traumatic stress disorder, pain and
suffering, and loss of enjoyment of life.

WHEREFORE, Plaintiff requests this Honorable Court enter judgment against the

Defendants jointly and severaily on all counts of this complaint and:

1. Award compensatory damages with interest thereon;

2. Award punitive damages;

 
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3. Award interest and costs of this action to Plaintiff;

4. Award attorney’s fees to Plaintiff;

5. Award such other relief which this Court deems just and equitable.

Date: November 13, 2020

FOR THE PLAINTIFF,
REY AUGUSTINE, JR.
By his attorney,

JAMES R. GOODHINES, ESQ.

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